Case 0:16-cv-60966-UU Document 9 Entered on FLSD Docket 06/06/2016 Page 1 of 2



                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                 CASE NO. 0:16-cv-60966-UU

 RICHARD BRIAN AKERS, individually,

        Plaintiff,
 v.

 WELLS FARGO BANK, N.A.,
 a national bank,

       Defendant.
 _________________________________________/

                               JOINT NOTICE OF SETTLEMENT

        Plaintiff and Defendant hereby jointly give notice that the terms of settlement of this

 matter has been reached as to all claims of the Plaintiff in connection with mediation before

 Judge Scott Silverman. The parties have executed a binding mediation term sheet and are in the

 process of drafting a formal written settlement agreement, which the parties expect to execute

 within the next seven (7) days. Once executed, it is expected that the terms of the settlement will

 be able to be implanted with fourteen (14) days of execution. The parties therefore request that

 the Court vacate all dates currently set on calendar in connection with Plaintiff’s claim and

 afford the parties thirty (30) days to file necessary dismissal papers.

        Respectfully submitted this 6th day of June, 2016.

                                                        BRET L. LUSSKIN, Esq.
                                                        Attorney for Plaintiff
                                                        20803 Biscayne Blvd., Ste 302
                                                        Aventura, FL 33180
                                                        Telephone: (954) 454-5841
                                                        Facsimile: (954) 454-5844
                                                        blusskin@lusskinlaw.com

                                                        By: /s/ Bret L. Lusskin, Esq.
                                                            Bret L. Lusskin, Esq.
                                                            Florida Bar No. 28069
Case 0:16-cv-60966-UU Document 9 Entered on FLSD Docket 06/06/2016 Page 2 of 2




                                 CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that on this 6th day of June, 2016, I electronically filed the

 foregoing document with the Clerk of the Court using CM/ECF. I also certify that the foregoing

 document is being served this date via U.S. mail and/or some other authorized manner for those

 counsel or parties, if any, who are not authorized to receive electronically Notices of Electronic

 Filing.

                                                     By: /s/ Bret L. Lusskin, Esq.
                                                         Bret L. Lusskin, Esq.
                                                         Florida Bar No. 28069




                                                 2
